            Case 3:09-cr-05452-RJB            Document 597         Filed 04/02/10       Page 1 of 2



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 3
                                  UNITED STATES DISTRICT COURT
 4
                                 WESTERN DISTRICT OF WASHINGTON
                                           AT TACOMA
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 6
     UNITED STATES OF AMERICA                             NO. CR09-5452RJB
 7
                   Plaintiff,                             ORDER REQUESTING INFORMATION
 8          v.                                            AND RENOTING MOTION FOR RETURN
                                                          OF PROPERTY PURSUANT TO
 9
     DANIEL CAMARENA,                                     RULE 41(g)
10
                   Defendant.
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               This matter comes before the court on Defendant's Motion for Return of Property
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     Pursuant to Rule 41(g) (Dkt. 587). The court has considered all documents filed in support of
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     and in opposition to the this motion, and finds that the information before the court is not
15
     sufficient for the court to make a definitive ruling. Although there is some reference in the
16

17   court file to the search warrant being a federal warrant, the warrant itself is not in the file, nor is

18   there a return in the file. Those documents should be supplied to the court by whichever party

19   may have them. The file is also devoid of any information regarding the relationship between

20   federal officers and officers of other entities that make up the so-called "Tacoma Regional Task
21   Force."
22
               The court notes that the Pierce County Sheriff is not a party to this case, and defendant
23
     is free to pursue whatever state avenues may be open to him.
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               While the authority of the court to control possession of the 2002 Dodge Truck, which
25
     is at the heart of this motion, may be questionable, the court does hope that the plaintiff in this
            Case 3:09-cr-05452-RJB            Document 597         Filed 04/02/10      Page 2 of 2



 1   case will do its best to safeguard the vehicle so that it will be available to the parties hereto for
 2   whatever disposition, if any, this court may order.
 3
             Therefore, it is now
 4
             ORDERED that the parties hereto shall supply the court with the information requested
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     on or before April 8, 2010, and the court will reset the matter for consideration on or after April
 6
     9, 2010.
 7
             Dated this 2nd day of April, 2010.
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                                             A
                                             ROBERT J. BRYAN
11                                           United States District Judge

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